539 U.S. 911
    National Rifle Assn. et al.v.Federal Election Commission et al.
    No. 02-1675.
    Supreme Court of United States.
    June 5, 2003.
    
      1
      Appeals from D. C. D. C.
    
    
      2
      Probable jurisdiction noted, cases consolidated, and a total of four hours allotted for oral argument. Briefs of the parties who were plaintiffs in the District Court are to address the questions presented in the jurisdictional statements and are to be filed with the Clerk of the Court and served upon the parties who were defendants in the District Court on or before 3 p.m., Tuesday, July 8, 2003. Briefs of the parties who were defendants in the District Court are to be filed with the Clerk of the Court and served upon the parties who were plaintiffs in the District Court on or before 3 p.m., Tuesday, August 5, 2003. Any reply briefs by parties who were plaintiffs in the District Court are to be filed with the Clerk of the Court and served upon parties who were defendants in the District Court on or before 3 p.m., Thursday, August 21, 2003. Cases set for oral argument at 10:00 a.m., Monday, September 8, 2003. Reported below: 251 F. Supp. 2d 176 and 948.
    
    